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         In the United States District Court
          Western District of Pennsylvania
                Pittsburgh Division

In re: PHILIPS RECALLED CPAP,           Case No. 2:21-mc-01230-JFC
Bi-Level PAP, AND MECHANICAL            MDL No. 3014
VENTILATOR PRODUCTS
LIABILITY LITIGATION                    Judge JOY FLOWERS CONTI

This Document Relates to:

King v. Cornerstone Medical Services—
Midwest LLC, et al.,
Case No. 2:23-cv-02040-JFC


Pro Se PLAINTIFF DERRICK MARTIN KING’S REPLY IN SUPPORT OF
HIS MOTION TO STAY IMPLEMENTATION OF THE PRIVATE MASTER
    SETTLEMENT AGREEMENT FOR PERSONAL INJURY CLAIMS
   PENDING RESOLUTION OF THE PROCEEDINGS IN THE THIRD
                  CIRCUIT COURT OF APPEALS
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Jen Christensen (Apr. 30, 2024), Philips reaches $1.1 billion settlement
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                                 INTRODUCTION

       On February 13, 2025, Pro se Plaintiff Derrick Martin King (hereinafter

“Plaintiff King” filed a motion to stay implementation of the proposed $1.1 billion-

dollar Master Settlement Agreement (hereinafter “MSA”) for plaintiffs alleging

certain personal injuries (ECF No. 2768) pending the Third Circuit Court of Appeals’

resolution of Plaintiff King’s Petition for Writ of Mandamus. 1 The very same day that

the Third Circuit Clerk docketed the Petition, Judge Conti entered an Order (ECF

No. 3141) which ordered each of the parties to file a response to Plaintiff King’s

motion to stay proceedings by Friday, February 21, 2025.

       Plaintiff King states for the record that he has been in communication with

Tim Cruz 2 and Itri Shauna 3 regarding access to the common-benefit discovery

documents. Plaintiff King has been given access to the discovery repository. In

addition, Plaintiff King was offered an opportunity to purchase a hard drive

containing the common-benefit discovery documents for approximately $300.

       Accordingly, the discovery issue is now moot. This Court and the Third Circuit

has been notified by Plaintiff King of the mootness. However, the remaining issue




1 On February 4, 2025, Plaintiff King sought a writ of mandamus with the Third

Circuit. In re Derrick Martin King, 3d Cir. No. 25-1216. The mandamus petition was
docketed with the Clerk of Courts on February 13, 2025.
2 Cruz (tcruz@seegerweiss.llp) is employed as an IT administrator at SeegerWeiss

LLP.
3 Shauna Itri (sitri@seegerweiss.llp) is a partner at SeigerWeiss LLP.




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(whether or not the private master settlement agreement can proceed forward) has

not been mooted.

       RESPONSES IN OPPOSITION TO PLAINTIFF KING’S MOTION

       A.     The Philips Defendants.

       On February 21, 2025, the Philips Defendants filed a response in opposition to

Plaintiff King’s motion (ECF No. 3164). The Philips Defendants present two

arguments in opposition: (1) Plaintiff King’s mandamus petition is unlikely to succeed

on the merits because the Court cannot modify the terms of a private personal injury

settlement; 4 and (2) the requested stay would prejudice the parties participating in

the settlement—and undermine the purpose of the MDL—while taking nothing away

from Plaintiff King. 5

       B.     The PolyTech Defendants.

       On February 21, 2025, Defendant Polymer Technologies Inc. and Defendant

Polymer Molded Products LLC. (referred to collectively as “the PolyTech

Defendants”) filed a “joinder” that stated:

       PLEASE TAKE NOTICE THAT the arguments set forth in the Philips
       Defendants’ Opposition to Plaintiff Derrick Martin King’s Motion to Stay
       Implementation of the Private Master Settlement Agreement for Personal
       Injury Claims Pending Resolution of the Proceedings In the Third
       Circuit Court of Appeals, D.I. 3164, (“Philips’ Response”) equally apply
       to Polymer Technologies Inc. and Polymer Molded Products, LLC.
       Therefore, Polymer Technologies Inc. and Polymer Molded Products,




4 (ECF No. 3164 at p. 7-8).

5 Id. at pp. 9-10.




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       LLC hereby join in the Philips’ Response for all the reasons set forth
       therein. 6

       C.        The MDL Plaintiffs, Liaison Counsel, and PSC.

       On February 21, 2025, the MDL lead counsel, liaison counsel, and PSC filed a

response in opposition to Plaintiff King’s Motion (ECF No. 3166). The MDL Plaintiffs

argue that: (1) the balance of factors weighs against granting a stay; 7 and (2) Plaintiff

King has no standing to object to the settlement. 8

                        PLAINTIFF KING’S DECLARATION

       Throughout the remainder of this document, Plaintiff King will refer to his

Declaration (hereinafter “King Declaration”) and the exhibits annexed to the King

Declaration. 9




6 (ECF No. 3165 at p. 1). PolyTech’s counsel Eric Scott Thompson cannot come up

with anything to add or present an original argument (he merely states that he agrees
with anything that the Philips Defendants argue). It is clear to Plaintiff King that
attorney Thompson is incompetent to practice law in the Commonwealth of
Pennsylvania and will be required to answer questions regarding his competency to
practice law to the Disciplinary Board of the Supreme Court of Pennsylvania.
7 (ECF No. 3166 at pp. 4-5).

8 Id., at pp. 5-7.

9 The King Declaration is annexed herein and marked as Exhibit A.




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        PLAINTIFF KING’S REPLY TO THE PHILIPS DEFENDANTS

      A.     The Philips Defendants (specifically Philips RS North America
             LLC) have Engaged in Improper Tactics Designed Specifically to
             Delay Proceeding on the Merits in a Court of Law.

      This Court should review the underhanded tactics of counsel for Defendant

Philips RS North America LLC that began immediately after Plaintiff King filed suit

in an Ohio state court.

      The docket sheet maintained by the Summit County Clerk of Courts indicates

that on September 21, 2023, Plaintiff King initiated a complaint in the Summit

County Court Common Pleas. 10 Included in the documents was a “poverty

affidavit.” 11 The docket sheet indicates that the “poverty affidavit” was sent to the

chambers of the assigned judge but was awaiting approval or disapproval.

      The docket of the Northern District of Ohio indicates that on October 18, 2023,

Defendant Philips RS North America LLC filed a Notice of Removal. 12 This filing




10 See King Declaration at ¶ 3; Exhibit B.

11 A “poverty affidavit” is authorized under Ohio Rev. Code § 2323.311 and it operates

similar to the in forma pauperis statute (28 U.S.C. § 1915) used in the Federal courts
and it allows any party who is indigent to proceed in the Court without prepayment
of filing fees and other costs. When filing a case under the “poverty affidavit” statute,
the Clerk of Court does not serve the documents upon the defendants until after a
judge or magistrate reviews the information provided in the “poverty affidavit” and
either approves the filing or sets a court hearing when the filing party can present
arguments.
12 See King v. Koninklijke Philips N.V., et al., N.D. Ohio No. 5:23-cv-02042-PAB. The

notice is authorized under 28 U.S.C. § 1332, 28 U.S.C. § 1441, and 28 U.S.C. § 1446
to remove a case from a state court to the United States District Court in the
jurisdiction where the state court is located.


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divests the Summit County Court of Common Pleas of jurisdiction and terminates

proceedings in that court. The very next day, the Philips Defendants filed a Notice of

Tag-Along Actions with the Judicial Panel on Multidistrict Litigation (hereinafter

“J.P.M.L.”). 13 Plaintiff King did not contest the eventual transfer to this Court.

        On October 27, 2023, the J.P.M.L. issued CTO No. 84 and conditionally

transferred the case to this Court. 14 The case was formally transferred to this Court

on November 29, 2023. 15 Counsel for Defendant Philips RS North America LLC has

continued their delay tactics designed to prevent Plaintiff King from resolving the

case.

        After Plaintiff King voluntarily dismissed his initial case, 16 he included a new

party, Cornerstone Medical Services—Midwest LLC as a Defendant. 17 On July 7,

2024, Plaintiff King filed a complaint in the Summit County Court of Common




13 The notice is authorized under 28 U.S.C. § 1407, 28 U.S.C. § 2112, and J.P.M.L.

Rule 7.1(a). The cited statutes and rules of procedure allows the J.P.M.L. to
consolidate cases into a multidistrict action for pretrial purposes.
14 See In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products

Liability Litigation, MDL No. 3014 (J.P.M.L.), ECF No. 826.
15 (ECF No. 2364); see also King v. Koninklijke Philips N.V., et al., W.D. Pa. No. 2:23-

cv-02040-JFC, ECF No. 10.
16 (ECF No. 2840); see also King v. Koninklijke Philips N.V., et al., W.D. Pa. No. 2:23-

cv-02040-JFC, ECF No. 22. Plaintiff King dismissed this case because of the private
Settlement Agreement.
17 Cornerstone Medical Services—Midwest LLC was the Durable Medical Equipment

(DME) supplier who sold Plaintiff King the Philips Respironics DreamStation
AutoPAP device that is the subject of this litigation.


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Pleas. 18 Plaintiff King filed a “poverty affidavit” with the clerk of courts. It should be

noted that the docket sheet for this case indicates that on July 18, 2024, the “poverty

affidavit” was granted. The service list indicates that FedEx delivered the documents

to Defendant Philips RS North America LLC’s statutory agent on July 24, 2024.

      Plaintiff King stated in his complaint filed with the Summit County Court of

Common Pleas that Cornerstone Medical Services—LLC was established as an Ohio

Limited Liability Company. Despite knowing that the Federal courts lack diversity

jurisdiction, on August 5, 2024, Defendant Philips RS North America LLC filed a

Notice of Removal with the Northern District of Ohio. 19

      On August 7, 2024, Plaintiff King filed an Omnibus Motion to Remand to State

Court and Motion for Sanctions. 20 On August 12, 2024, Defendant Philips RS North

America LLC filed a Motion to Stay Proceedings Pending Transfer to MDL No. 3014. 21

Plaintiff King filed a response in opposition, Defendant Philips RS North America




18 See King Declaration at ¶ King v. Cornerstone Medical Services—Midwest LLC, et

al., Summit C.P no. 2024-07-2874.
19 King v. Cornerstone Medical Services—Midwest LLC, et al., N.D. Ohio No. 5:24-cv-

01344-BYP.
20 King v. Cornerstone Medical Services—Midwest LLC, et al., N.D. Ohio No. 5:24-cv-

01344-BYP, ECF No. 4.
21 King v. Cornerstone Medical Services—Midwest LLC, et al., N.D. Ohio No. 5:24-cv-

01344-BYP, ECF No. 5.


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filed a reply in support of their motion, and Plaintiff King filed a reply in support of

his motion. 22

       It should be noted that on October 1, 2024, Plaintiff King sought a writ of

mandamus with the Sixth Circuit Court of Appeals. 23 The mandamus petition

remains pending and is the subject of motions pending before this Court. 24

       On October 11, 2024, Judge Benita Y. Pearson entered an Order which: (1)

granted Defendant Philips RS North America LLC’s motion to stay proceedings

pending transfer to MDL No. 3014; (2) and staying Plaintiff King’s motion to remand

to state court. 25




22 King v. Cornerstone Medical Services—Midwest LLC, et al., N.D. Ohio No. 5:24-cv-

01344-BYP, ECF Nos. 7, 8, and 9.
23 In re Derrick Martin King, 6th Cir. No. 24-3851.

24 On December 16, 2024, Plaintiff King filed a motion to stay the case (hereafter

“First Motion to Stay”) pending resolution by the Sixth Circuit (ECF No. 3068). On
January 6, 2025, the Philips Defendants filed a response in opposition (ECF No. 3083).
The MDL Plaintiffs also filed a response in opposition (ECF No. 3085). The PolyTech
Defendants filed a “joinder” supporting the Philips Defendants (ECF No 3084).
Finally, on January 13, 2025, Plaintiff King filed a reply in support of his motion
(ECF No. 3087).
25 King v. Cornerstone Medical Services—Midwest LLC, et al., N.D. Ohio No. 5:24-cv-

01344-BYP, ECF No. 15.


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      On October 11, 2024, the J.P.M.L. set the matter for a non-oral hearing at its

December 5, 2024 session in New York, New York. 26 On December 12, 2024, the

J.P.M.L. transferred the case to this Court. 27

      B.       Counsel for Defendant Philips RS North America LLC is Included
               in the ECF/CM Filing System and Receives Notices from the
               Clerk of the Third Circuit Court of Appeals.

      The General Docket for the Third Circuit Court of Appeals for the In re Derrick

Martin King case (3d Cir. No. 25-1216) indicates that attorney Wendy West Feinstein

is included in the list of attorneys who receive notices from the Clerk of the Third

Circuit Court of Appeals. Despite receiving clear notification of all filings that

Plaintiff King may file with the Third Circuit, Defendant Philips RS North America

LLC has not filed any arguments with the Third Circuit. Plaintiff King’s argument

that Defendant Philips RS North America LLC does not want either the Third Circuit

or this Court to review any aspect of the private master settlement agreement is very

interesting.

      C.       Counsel for the Philips Defendants Will Eventually be Required
               to Answer for their Conduct with the Disciplinary Counsel for the
               Pennsylvania Supreme Court and/or the Ohio Board of
               Professional Conduct.

      In their response in opposition, the Philips Defendants stated:




26 In re Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products

Liability Litigation, MDL No. 3014 (J.P.M.L.) ECF No. 942.
27 King v. Cornerstone Medical Services—Midwest LLC, et al., W.D. Pa. No. 2:24-cv-

01693-JFC.


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        Plaintiff Derrick King’s Motion to Stay Implementation of the Private
        Master Settlement Agreement for Personal Injury Claims while his
        Petition for Writ of Mandamus (“Mandamus Petition”) remains pending
        in the U.S. Court of Appeals for the Third Circuit, ECF No. 3139 (the
        “Motion”), is his latest in a series of efforts to interfere with the orderly
        administration and resolution of this MDL. Over the past two years,
        King’s vexatious litigation tactics have burdened this Court, the
        Philips Defendants, and several other courts with repetitive and
        meritless motion practice. Now—for the second time—he seeks to
        delay implementation of the private personal injury settlement program
        that was inked over nine months ago and which he has no standing to
        challenge. The settlement of other plaintiffs’ personal injury cases does
        not compromise King’s rights or claims in any way. The personal injury
        settlement program was created by private agreement, not a class
        settlement subject to the Court-approval requirements of Federal Rule
        of Civil Procedure 23. 28

        Counsel for the Philips Defendants have made defamatory and untrue

statements about Plaintiff King in violation of Pennsylvania law. 29 Plaintiff King

states that he has never been declared as a “vexatious litigator” by this Court or by

any other court. Counsel for the Philips Defendants have no basis to make that

statement.

        Plaintiff King will suggest to counsel for the Philips Defendants that they

make sure that their professional liability insurance policy is up-to-date and that it

covers their actions associated with this case (specifically the defamatory comments




28 (ECF No. 3164 at p. 4). (emphasis added).

29 42 Pa. Con. Stat. § 8343 sets the following elements for defamation: (1) The
defamatory character of the communication; (2) Its publication by the defendant; (3)
Its application to the plaintiff; (4) The understanding by the recipient of its
defamatory meaning; (5) The understanding by the recipient of it as intended to be
applied to the plaintiff; (6) Special harm resulting to the plaintiff from its publication;
and (7) Abuse of a conditionally privileged occasion.


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made regarding Plaintiff King). Counsel for the Philips Defendants will have to

answer to the Disciplinary Counsel for the Pennsylvania Supreme Court for their

conduct in this case. In addition, attorney Wendy West Feinstein will have to answer

to the Ohio Board of Professional Conduct for her conduct in the U.S. District Court

for the Northern District of Ohio and the Summit County Court of Common Pleas.

         PLAINTIFF KING’S REPLY TO THE POLYTECH DEFENDANTS

         Records on file with the Disciplinary Board of the Supreme Court of

Pennsylvania indicates that Eric Scott Thompson, Pa. ID No. 92666, was first

admitted to practice law in the Commonwealth of Pennsylvania on May 18, 2004. 30

         The actions of Eric Scott Thompson in this case leads to serious questions

regarding his competency to practice law in the Commonwealth of Pennsylvania. 31




30 See  the Disciplinary Counsel of the Supreme Court of Pennsylvania’s online
database, available online         at   https://www.padisciplinaryboard.org/for-the-
public/find-attorney/attorney-detail/92666 (accessed Feb. 21, 2025).
31 See Pa. R. Prof. Cond. 1.1 (“A lawyer shall provide competent representation to a

client. Competent representation requires the legal knowledge, skill, thoroughness
and preparation reasonably necessary for the representation.” In addition, Pa. R. Prof.
Cond. 1.3 states that “A lawyer shall act with reasonable diligence and promptness
in representing a client.” Parroting the arguments of the Philips Defendants does not
demonstrate reasonable diligence in the representation of his client.


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PLAINTIFF KING’S REPLY TO THE MDL PLAINTIFFS’ LEAD COUNSEL,
                  LIAISON COUNSEL, AND PSC

      A.     Like the Philips Defendants, the MDL Plaintiffs Seek to Avoid
             Review of the Master Settlement Agreement by either the Third
             Circuit or by this Court.

      Counsel for the MDL Plaintiffs are acting not in the best interests of the

plaintiffs, but seek to protect the millions of dollars that counsel would be entitled to

should the private master settlement agreement be permitted to proceed.

Professor Elizabeth Chamblee Burch of the University of Georgia School of Law

stated the following when it comes to multidistrict litigation:

      When transferee judges receive a multidistrict proceeding, they select a
      few lead plaintiffs’ lawyers to efficiently manage litigation and
      settlement negotiations. That decision gives those attorneys total
      control over all consolidated plaintiffs’ claims and rewards them richly
      in common-benefit fees. It’s no surprise then that these are coveted
      positions, yet empirical evidence confirms that the same attorneys
      occupy them time and again.

      Anytime repeat players exist and exercise both oligopolistic leadership
      control across multidistrict proceedings and monopolistic power within
      a single proceeding, there is concern that they will use their dominance
      to enshrine practices and norms that benefit themselves at consumers’
      (or here, clients’) expense. Apprehensiveness should increase when
      defense lawyers are repeat players too, as they are in multidistrict
      litigation. And anxiety may peak when the circumstances exhibit these
      anti-competitive characteristics, but lack regulation as they do here.
      Without the safeguards built into class certification, judicial monitoring
      and appellate checks disappear. What remains is a system that may
      permit lead lawyers to act, at times, like a cartel. 32

In addition to this, Professor Burch stated that:




32 Elizabeth Chamblee Burch, Monopolies in Multidistrict Litigation, 70 Vand. L. Rev.

67 (2017).


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      . . . [R]epeat players on both sides continually achieve their goals in
      tandem—defendants end massive suits and lead plaintiffs’ lawyers
      increase their common-benefit fees. But this exchange may result in
      lower payouts to plaintiffs, stricter evidentiary burdens in claims
      processing, or more coercive plaintiff-participation measures in master
      settlements. 33

Finally, Professor Burch (a noted critic of the MDL litigation process), stated that:

      What is less clear, however, is how the plaintiffs fare—the consumers,
      so to speak. Not all plaintiffs’ claims are created equal. If leadership’s
      influence is unchecked, it’s possible that lead attorneys could secure
      generous common-benefit fees for themselves, while generating
      suboptimal outcomes for some or all claimants. It is here that a
      significant departure from the class-action baseline emerges, for without
      certification, multidistrict proceedings lack the judicial, competitive-
      market, and institutional checks that can help safeguard and legitimize
      class outcomes.

      Self-dealing settlement terms and collusive behavior have been well-
      documented in class actions even though classes require extensive
      regulation throughout the proceedings. In Rule 23(b)(3) classes, because
      only class counsel stand to gain attorneys’ fees, a host of competing
      attorneys who are otherwise boxed out of that fee award have incentives
      to solicit and assist class members in opting out.

      Appellate courts stand ready to reverse collusive deals and chastise self-
      dealing attorneys. And even defendants occasionally serve as watchdogs
      for class members when their interests align: they invoke inadequate
      representation as a rationale against class certification and then, when
      settling, may consider its existence to prevent the class-wide
      settlement’s preclusive effect from unraveling.

      But even these safeguards crumble in non-class, multidistrict
      proceedings. When transferee judges select lead lawyers, they rarely
      attend to adequate representation, focusing instead on financial means,
      expertise, and cooperation—factors that empower repeat players but
      may stifle competition. And unlike class settlements that require judges
      to ensure that they are fair, reasonable, and adequate, judges have little
      say in “private” global deals that leaders design. External competitive




33 Id., 70 Vand. L. Rev. at 67-68 (2017).




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      checks are likewise absent: the overwhelming message sent by
      transferee judges is that leadership appointments—and the lucrative
      fees accompanying them—are conditioned upon cooperation and team
      play. So, even though plaintiffs’ attorneys are assertive and ambitious,
      their calculated response may be to silence their discord and achieve
      financial success by playing the long game. Defendants are no help
      either, for finality hinges not on adequate representation and preclusion,
      but on convincing claimants to accept the deal.

      Maybe these circumstances would be less troubling if they affected only
      a few cases, but multidistrict litigation is mushrooming in both impact
      and sheer numbers. These cases often attract sustained media attention
      (e.g., General Motors’ ignition switch litigation), which influences public
      perception. And from 2002 to 2015, multidistrict proceedings leapt from
      sixteen to thirty-nine percent of the federal courts’ entire civil caseload.
      Removing prisoner and social security cases escalates that number to
      45.6 percent. Many factors surely contribute to that increase, but two
      pulling in divergent directions stand out: corporations operate
      nationally (and internationally), but recent congressional and judicial
      decisions have hobbled the use of nationwide class actions, particularly
      when state laws govern.

      In short, multidistrict litigation impacts the entire civil justice system.
      Even though the Judicial Panel on Multidistrict Litigation (“the Panel”)
      centralizes factually related cases to promote efficient pretrial handling
      only, the reality is that just 2.9 percent of cases return to their original
      districts. As cases routinely conclude through these proceedings, the
      lack of checks and balances to thwart self-dealing temptations becomes
      all the more startling and suggests that regulation is warranted. 34

      Counsel for the MDL Plaintiffs are only interested in protecting their bottom

line, and have no interest in obtaining compensation for those plaintiffs who either

have their own counsel or (like Plaintiff King) proceeding pro se. If counsel for the

MDL plaintiffs represent their clients on a one-third contingency (plus expenses), the




34 Id., 70 Vand. L. Rev. at 70-73 (2017) (footnotes omitted).




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expected fees earned for the $1,075,000,000. settlement, the fees earned by counsel

for the MDL plaintiffs is approximately $354,750,000. 35

      B.     The MDL Plaintiffs are Free to Submit their Arguments to the
             Third Circuit, But They Have Refused to do so.

      Once again, the general docket for Plaintiff King’s mandamus action in the

Third Circuit Court of Appeals lists several of the MDL Plaintiffs’ counsel (including

Sandra L. Duggan, Kelly K. Iverson, Daniel A. Rihn, Steven A, Schwartz, Christopher

A. Seeger, and Peter S. Wolff) are listed as counsel (and thus receive electronic notices

whenever a document is filed with the Third Circuit).

      Despite receiving notice of the Third Circuit filing, the MDL Plaintiffs refuse

to present any arguments to the Third Circuit (which clearly have the authority to

review the case and make a ruling that would be binding on the parties and would be

definitive. It is as if the MDL Plaintiffs are afraid of what the Third Circuit Court of

Appeals will do to this case.




35 Counsel for the MDL plaintiffs were awarded attorneys’ fees of $ 94,440,614.59 and

reimbursement of $ 559,385.41 for expenses in the settlement of the class-action for
economic losses (ECF No. 2737). In addition, and expenses of counsel for the MDL
Plaintiffs were awarded $4,369,754,57 in attorneys’ fees and reimbursement of for
the medical monitoring settlement and $ 451,243,245.43 in expenses in the
settlement of the class-action for medical monitoring (ECF No. 3054).


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         C.    Counsel for the MDL plaintiffs have Presented Inconsistent
               Arguments Regarding Plaintiff King’s Eligibility to Participate in
               the Private Master Settlement Agreement.

         On August 7, 2024, BrownGreer mailed Plaintiff King a letter regarding the

Personal Injury Master Settlement Agreement. 36 The relevant portions of the first

paragraph of the letter states that:

         You satisfy the definition of an “Eligible Claimant” in the Master
         Settlement Agreement and can register to participate in the Settlement
         Program because you alleged a Qualifying Injury caused by usage of a
         Philips Recalled Device If you want to participate in the voluntary
         Settlement Program, you must complete the attached Registration
         Packet forms and send them to us by the December 10, 2024
         Registration Deadline: (1) Registration Form: (2) Release: (3) Lien
         Disclosure and Authorization Form; and (4) a template Stipulation of
         Dismissal with Prejudice (only required if you have a pending lawsuit
         against the Philips Defendants). 37

         Plaintiff King was confused by the statements regarding his eligibility to

participate in the Master Settlement Agreement, so he emailed Daniel Aaron Rihn

and Zac Gordon. 38 Approximately fifteen minutes later, Zac Gordon responded and

inquired as to whether or not the documents were related to the Medical

Advancement Program for the Medical Monitoring class-action settlement. 39

Approximately ten minutes after receiving Zac Gordon’s email, Plaintiff King




36 The August 7, 2024 letter from BrownGreer PLC is annexed herein and marked as

Exhibit J.
37 Id.

38 The August 7, 2024 email is annexed herein and marked as Exhibit K.

39 Id.




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responded by informing Gordon that “The documents say nothing about medical

monitoring.” 40 Approximately ten minutes later, Zac Gordon emailed Plaintiff King

and indicated that he would forward the email to BrownGreer. 41

         On November 13, 2024, Plaintiff King received an email from Adasa

Hernandez. 42 The email listed the Qualifying Respiratory Injuries, Worsening

Qualifying Reparatory Injuries, and the Qualifying Cancers that were eligible to

participate in the private Settlement Agreement. Based on this list, Plaintiff King is

not eligible to participate in the private Settlement Agreement. 43

         In their response in opposition, the MDL plaintiffs state:

         King is a “Litigating Plaintiff,” as that term is defined in the Docket
         Management Order issued with the notice of settlement. The deadline
         to register to participate in the MSA has passed, and the Docket
         Management Order provides that for any Litigating Plaintiff who has
         moved to remand to state court, the Court will set a schedule for those
         motions following the Registration Deadline. ECF No. 2769 at 6. The
         Court should direct him to file a motion to remand his claim to state
         court if he so desires and await the Court’s scheduling order on his
         motion. He will suffer no cognizable harm by being required to follow
         the same process applicable to all other Litigating Plaintiffs. 44




40 Id.

41 Id.

42 The November 13, 2024 email is annexed herein and marked as Exhibit L. It should

be noted that Adasa Hernandez is the Pro Se Contact for the Philips Respironics
Personal Injury Settlement Program at BrownGreer PLC.
43 Id.

44 (ECF No. 3166 at pp. 6-7)   (footnotes omitted).


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      It should be noted that the Philips Defendants note that Plaintiff King is not

eligible to participate in the private Settlement Agreement. 45 Counsel for the MDL

plaintiffs will have to answer for their conduct with the Disciplinary Counsel for the

Pennsylvania Supreme Court and eventually a jury in a legal malpractice case. It is

Plaintiff King’s suggestion to counsel for the MDL Plaintiffs that they make sure that

their professional liability insurance includes coverage for their conduct in this case

and the harm caused to Plaintiff King.

                                   CONCLUSION

      It is abundantly clear that Philips RS North America LLC does not want any

court to determine whether or not the private master settlement agreement for

personal injury claims will fairly and adequately protect the interests of ALL of the

plaintiffs who filed suit alleging personal injuries. The company has lied to the

general public regarding the nature of the $1.1 billion dollar settlement. For example,

the company stated that:

      Philips said in a statement Monday that it had reached an agreement
      with the plaintiffs “to resolve the personal injury litigation and the
      medical monitoring class action to end the uncertainty associated with
      litigation in the U.S.,” adding that it didn’t “admit any fault or liability,
      or that any injuries were caused by Respironics’ devices.” 46




45 (ECF No. 3164 at p. 5 fn. 2) (“King alleges cardiac health issues, which were not

qualifying injuries for the settlement program. See ECF No. 3139, ¶ 4.”
46 CBS News (Apr. 29, 2024), Philips settles suits over its DreamStation sleep apnea

machines for $1.1 billion. Available online at https://www.cbsnews.com/news/philips-
sleep-apnea-machines-settlement-dreamstation/ (accessed Feb. 21, 2025). See also
Jen Christensen (Apr. 30, 2024), Philips reaches $1.1 billion settlement for CPAP



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In addition, the Philips Defendants also stated that the following to the public:

      The settlement unveiled Monday between the global device maker and
      lawyers for patients will effectively end sweeping lawsuits that were
      filed after the 2021 recall of millions of the company’s widely used sleep
      apnea machines and ventilators. 47

      It is clear that the Philips Defendants will say anything to protect their

financial bottom-line. Accordingly, the arguments presented by the Philips

Defendants should be rejected by this Court and Plaintiff King’s motion should be

granted.

 Date: February 24, 2025.                   Respectfully Submitted,

                                            /s/ Derrick Martin King
                                            DERRICK MARTIN KING (Pro se)
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                                            Plaintiff




machine lawsuits, admits nofault or liability. CNN, available online at
https://cnn.com/2024/04/30/health/philips-1-billion-cpap-settlement-
agreement/index.html (accessed Feb. 21, 2025) (“the money will pay people in the US
whosued Philips and claimed that they had been injured by the faulty devices.”)
47 Michael D. Sallah and Debbie Cenziper (Apr. 30, 2024), Philips agrees to $1 billion

settlement with patients over defective breathing machines. Pittsburgh Post-Gazette,
available      online      at      https://www.post-gazette.com/business/healthcare-
business/2024/04/29/philips-cpap-breathing-machines-
settlement/stories/202404290044 (accessed Apr. 30, 2024).


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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was

filed via the Court’s CM/ECF system. Parties and all counsel of record may access

and download the filing via the CM/ECF system or via MDL Centrality.

Date: February 24, 2025.                  /s/ Derrick Martin King
                                          DERRICK MARTIN KING (Pro se)
                                          Plaintiff




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